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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA
                                                        DECISION AND ORDER
                                                             12-CR-174S
             v.


MOHAMMED ALBANNAA,

                                Defendant.


I.     INTRODUCTION

       Pending before the Court is a motion (Dkt. No. 21) by defendant

Mohammed Albannaa for release on reasonable bail conditions.1 Defendant has

been in custody since he waived his right to a detention hearing on May 16, 2012.

In support of his motion, defendant argues that he has consulted an immigration

lawyer and has learned that he might have a chance at receiving bail in his

parallel immigration proceedings. To help him apply for bail in his immigration

proceedings, defendant proposes release on bail in this case with a reinstatement

of detention if his immigration bail application fails. The Government opposes the

motion on the basis that the evidence of defendant’s alleged conduct in this case



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        Defendant labeled his motion a motion for reconsideration of bail, but the
Court never made an initial bail determination. Defendant waived his right to a
detention hearing while reserving the right to request one later. (See Minute
Entry May 16, 2012.) The Court thus will not subject defendant to the higher
standard that governs bail reconsideration.
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outweighs any speculation about what might happen in the immigration

proceedings. The United States Probation Office (“USPO”) recommends

continued detention.

        The Court held a bail review hearing on June 26, 2012. For the reasons

below, the Court denies defendant’s motion.

II.     BACKGROUND

        This case concerns allegations that defendant and others conspired to sell

controlled substance analogues, known colloquially as “synthetic marijuana” and

various trade names, from the Speedy Market at 1799 Genesee Street in Buffalo,

New York. The Court signed a complaint and arrest warrant concerning

defendant on May 14, 2012. At the detention hearing on May 16, 2012,

defendant made a knowing and voluntary waiver of his right to a detention

hearing, on the basis that he lacked status in the United States and had an

Immigration and Customs Enforcement (“ICE”) detainer lodged against him.

Defendant waived his right to a detention hearing because he thought that the

hearing would be moot, but he reserved his right to request a hearing later if

circumstances in his immigration proceedings changed.

        The Government subsequently filed a one-count indictment that a grand

jury returned against defendant and two co-defendants. In the indictment, filed

on May 29, 2012, the Government accuses defendant of violating 21 U.S.C.

§ 846 and asserts that defendant “did knowingly, willfully and unlawfully combine,

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conspire and agree together and with others, known and unknown, to commit the

following offenses, that is, to possess with the intent to distribute, and to

distribute, quantities of mixtures and substances containing AM2201

[1-(5-Fluoropentyl)-3-(1-naphthoyl)indole] and JWH-210 [1-Pentyl-3-

(4-ethyl-1-napthoyl)indole], Schedule I controlled substance analogues as defined

in Title 21, United States Code, Section 802(32), knowing that the mixtures and

substances were intended for human consumption as provided in Title 21, United

States Code, Section 813, in violation of Title 21, United States Code, Sections

841(a)(1) and 841(b)(1)(C).” (Dkt. No. 17 at 1–2.) The indictment also contains a

forfeiture allegation.

      On June 13, 2012, defendant filed the pending motion for release on

reasonable bail conditions, claiming that circumstances in his immigration

proceedings have changed. Specifically, defendant asserts that he has retained

an immigration lawyer and has learned that immigration detention may not be the

certainty that he thought previously. Defendants now contends that “if released

by this Court, Mr. Albannaa may be released on a bond by the immigration court

pending an application to renew his lawful permanent resident status.” (Dkt. No.

21 at 2.) Defendant further proposes that “[i]f the immigration Court does not

release Mr. Albannaa, the defense understands that he will remain in immigration

custody. In that event, the defense would have no objection to reinstating

the order of detention against Mr. Albannaa.” (Id. at 3.)

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      The Government opposes defendant’s release. The Government notes

procedurally that the immigration lawyer whom defendant has consulted has not

even filed a notice of appearance in defendant’s immigration proceedings. On

substance, the Government argues that, while immigration bail is unlikely given

defendant’s lack of status and ties to the community, commenting on what might

happen in the immigration proceedings is speculation compared to the allegations

in this case. The Government argues further that the Court should give more

weight to the apparently undisputed contention that defendant’s status in the

United States expired over five years ago and that defendant never addressed

the problem. According to the Government, the expiration of defendant’s status

demonstrates an unwillingness to follow federal law. The Government concludes

that defendant is likely to abscond if released and thus should remain in custody.

      The USPO recommends continued detention. When the USPO prepared

the pretrial services report on May 15, 2012, it noted that defendant has no family

ties to the Western New York area except an ex-wife and son with whom he has

no contact. Defendant’s father and all six of his siblings live in either Dubai or

Yemen. The USPO noted further in the report that defendant provided only six

months’ worth of employment history—at the Speedy Market—at a nominal

salary, even though he claims to have lived in this community for seven years.

Finally, the USPO noted that defendant reported no assets that would tie him to

the community and no resources that could serve as collateral for bail. The

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pretrial services report thus concluded with a recommendation of detention. In an

update memo dated June 15, 2012, the USPO stood by its recommendation of

detention. In that memo, the USPO added the argument that defendant might be

deported while his criminal charges are still pending if the Court releases him.

III.     DISCUSSION

         “The Eighth Amendment to the Constitution states that ‘[e]xcessive bail

shall not be required.’ U.S. Const. amend. VIII. Consistent with this prohibition,

18 U.S.C. § 3142(b) requires a court to order the pre-trial release of a defendant

on a personal recognizance bond ‘unless the [court] determines that such release

will not reasonably assure the appearance of the person as required or will

endanger the safety of any other person or the community.’” U.S. v. Sabhnani,

493 F.3d 63, 75 (2d Cir. 2007). Statutory factors to be considered when

assessing non-appearance or danger include the nature and circumstances of

the offense charged, the weight of the evidence against the person, the history

and characteristics of the person, and the nature and seriousness of the danger

to any person or the community that would be posed by the person’s release.

See 18 U.S.C. § 3142(g).

         With respect to non-appearance, “the government carries a dual burden in

seeking pre-trial detention. First, it must establish by a preponderance of the

evidence that the defendant, if released, presents an actual risk of flight.

Assuming it satisfies this burden, the government must then demonstrate by a

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preponderance of the evidence that no condition or combination of conditions

could be imposed on the defendant that would reasonably assure his presence in

court.” Sabhnani, 493 F.3d at 75 (citations omitted). “To order detention, the

district court must find, after a hearing, that the government has established the

defendant’s dangerousness by clear and convincing evidence. The rules of

evidence do not apply in a detention hearing. Further, the government may

proceed by proffer.” U.S. v. Ferranti, 66 F.3d 540, 542 (2d Cir. 1995) (citations

omitted).

      Before addressing the substance of defendant’s motion, the Court will

address three unusual, preliminary questions that arise because of defendant’s

lack of status and resulting immigration proceedings.

      First, can the Court consider defendant’s proposal to issue what effectively

would be a conditional bail order—that is, an order that would release defendant

solely to allow him to seek bail in his immigration proceedings and that the Court

would revoke if the Immigration Court denies bail? The answer is no. The Bail

Reform Act of 1984 (“BRA”) contains no language that authorizes this Court to

coordinate detention proceedings with the Executive Branch. Such coordination

would include any sort of conditional bail order that hinged on the outcome of

Immigration Court proceedings. Cf. U.S. v. John Dennis Tan Ong, 762 F. Supp.

2d 1353, 1359 (N.D. Ga. 2010) (“[T]his Court has no authority to enforce an order




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requiring the return to U.S. Marshal’s custody of a to-be-removed

alien-defendant. Therefore, ‘conditional release’ is not a viable option.”).

      Second, can the Court detain defendant solely because an immigration

detainer exists? The answer to this question also is no. Raising an immigration

detainer to the level of a categorical, per se basis for detention would require

express language in the BRA similar to the language that categorically creates a

presumption of detention for some cases. Cf. U.S. v. Marinez-Patino, No. 11 CR

064, 2011 WL 902466, at *5 (N.D. Ill. Mar. 14, 2011) (“As other courts have

correctly observed, the approach that the government advocates here would, if

accepted, create a per se rule that all defendants with an ICE detainer be denied

pretrial release . . . . The BRA itself creates no per se category of persons who

must be detained, absent an individualized inquiry into that person’s risk of flight

or danger to the community. Certain offenses are subject to a ‘rebuttable

presumption’ of detention, see 18 U.S.C. § 3142(e)—but illegal reentry is not

among them.”) (citation omitted).

      Finally, can the Court consider defendant’s lack of status and immigration

proceedings as relevant to any other factor under the BRA? The answer to this

question is yes. Even if defendant’s immigration proceedings do not categorically

require detention, they are relevant to the extent that they show prior non-

compliance with federal law and thus are analogous to a prior criminal history.




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Cf. U.S. v. Salas-Urenas, 430 Fed. App’x 721, 723, 2011 WL 2836248, at *2

(10th Cir. July 19, 2011) (unpublished) (“A defendant’s immigration status and the

existence of an ICE detainer are relevant to the detention decision as part of the

history and characteristics of the defendant.”). This Court rejects any argument

that defendant’s immigration proceedings would be relevant because deportation

would guarantee non-appearance. That scenario could happen. The

Department of Justice, however, controls ICE and all United States Attorneys’

offices. The scenario of a deportation mooting a pending criminal case thus

would happen if and only if the Attorney General fails to set policy priorities and to

coordinate his own agencies accordingly. Even if such a failure happened, this

Court would have no interest in setting Department of Justice priorities. Cf. U.S.

v. Montoya-Vasquez, No. 4:08CR3174, 2009 WL 103596, at *3–4 (D. Neb. Jan.

13, 2009) (“The Bail Reform Act does not permit this court to speculate on the

‘risk’ that a defendant would not appear in this court due to his being removed

from this country by the same government that is prosecuting him.”).

      Having resolved the preliminary questions in this case, the Court now

applies the factors in 18 U.S.C. § 3142(g) in the ordinary course. Defendant is

facing felony drug charges that could leave him with a lengthy term of

imprisonment. Defendant’s immigration proceedings, while not criminal in nature,

suggest a prior history of an unwillingness to follow federal law. Whatever the

current course of his immigration proceedings may be, a felony drug conviction

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would guarantee that he is removable. See 8 U.S.C. § 1227(a)(2)(A)(i)(II) (“Any

alien who . . . is convicted of a crime for which a sentence of one year or longer

may be imposed, is deportable.”); id. § 1227(a)(2)(B)(i) (“Any alien who at any

time after admission has been convicted of a violation of (or a conspiracy or

attempt to violate) any law or regulation of . . . the United States . . . relating to a

controlled substance (as defined in section 802 of Title 21) . . . , is deportable.”).

Meanwhile, defendant has no meaningful ties to this area. Defendant’s mother,

who apparently never lived in Western New York anyway, is deceased; his father

and siblings all live in either Dubai or Yemen. Defendant is divorced from his wife

and has no contact with her or his son even though they live in the immediate

area. Defendant’s only reported employment history relates to the store where

the alleged criminal conduct occurred. Defendant also has no assets; the one

person who allegedly might be willing to help post collateral is a co-defendant in

the case. Finally, defendant reported at oral argument that he could be released

to a residence at 1266 Genesee Street in Buffalo, but he has provided only

conclusory information about whether this residence or its three other occupants

have any sort of connection to the alleged criminal conduct.

      Under these circumstances, and looking only at the criminal case and not

any collateral immigration proceedings, defendant has a significant motive to flee.

The Court finds that the Government has established, by preponderance of the




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evidence, that no combination of conditions of release could secure defendant’s

appearance at future proceedings.

IV.   CONCLUSION

      For all of the foregoing reasons, the Court denies defendant’s motion for

bail (Dkt. No. 21). Defendant shall remain in custody pending trial.

      Defendant shall remain committed to the custody of the Attorney General

for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal.

      Despite the Court’s order of detention, defendant shall be afforded

reasonable opportunity for private consultation with counsel. Additionally, on

order of the Court or on request of an attorney for the Government, the person in

charge of the corrections facility in which defendant is confined shall deliver

defendant to a United States Marshal for the purpose of an appearance in

connection with a court proceeding in this case.

      In accordance with 18 U.S.C. § 3142(j), nothing in this Decision and Order

shall be construed as modifying or limiting the presumption of innocence.



      SO ORDERED.
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                                       HONORABLE HUGH B. SCOTT
                                       UNITED STATES MAGISTRATE JUDGE
DATED: July 5, 2012



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